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 1                                                            The Honorable Kymberly K. Evanson

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 7

 8                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 9                                       AT SEATTLE

10   SHENZHEN ROOT TECHNOLOGY CO.,                       Case No. 2:23-cv-00631-KKE
     LTD., HONG KONG LUTE
11   TECHNOLOGY CO., LIMITED, AND                        JOINT CLAIM CONSTRUCTION
     SHENZHEN CONGLIN E-COMMERCE                         AND PREHEARING STATEMENT
12   CO., LTD.,
13              Plaintiffs,
14   v.
15   CHIARO TECHNOLOGY LTD.,
16              Defendant.
17
     CHIARO TECHNOLOGY LTD.,
18
                Counterclaim Plaintiff,
19
     v.
20
     SHENZHEN ROOT TECHNOLOGY CO.,
21   LTD., HONG KONG LUTE
     TECHNOLOGY CO., LIMITED,
22   SHENZHEN CONGLIN E-COMMERCE
     CO., LTD., SHENZHEN ROOT E-
23   COMMERCE CO., LTD., SHENZHEN
     TPH TECHNOLOGY CO., LTD.,
24   SHENZHEN LUTEJIACHENG
     NETWORK TECHNOLOGY CO., LTD,
25   AND SHENZHEN JINRUIHANG
     TECHNOLOGY CO., LTD.,
26
                Counterclaim Defendants.
27



     JOINT CLAIM CONSTRUCTION AND PREHEARING
     STATEMENT
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 1
 1           Pursuant to Local Patent Rule 132 and the Court’s Order (Dkt. 124), Plaintiffs and
 22   Counterclaim Defendants Shenzhen Root Technology Co., Ltd., Hong Kong Lute Technology

 3    Co., Limited, Shenzhen Conglin e-Commerce Co., Ltd., Shenzhen Root E-Commerce Co., Ltd.,

 44   Shenzhen Lutejiacheng Network Technology Co., Ltd., and Shenzhen Jinruihang Technology

 5    Co., Ltd. (collectively, “Momcozy”) and Defendant and Counterclaim Plaintiff Chiaro
 5
 6    Technology Ltd. (“Elvie”) jointly submit this Joint Claim Construction and Prehearing
 6
 7    Statement.
 7
 8           1.      Agreed Claim Terms
 8
 9           The parties met and conferred on December 9, 2024, but have not reached an agreement
 9
10    on construction for any claim terms.

11
10
             2.      Disputed Claim Terms
12
11
             Attached as Exhibit A1 and A2 are the Claim Charts setting forth the parties’ proposed
13
12    constructions for the disputed terms, along with the parties’ citations to intrinsic and extrinsic
14
13    evidence. With respect to intrinsic support, the parties have identified those citations and
15
14    excerpts that they believe to be most relevant to the proposed constructions. However, each
16
      party reserves the right to rely upon the intrinsic and extrinsic evidence identified by the other
15
17
      party to support or rebut any proposed constructions, and the parties may rely upon additional
16
18
      portions of the intrinsic evidence on rebuttal.
19
17
                     a.      Ten Most Important Claim Terms for Construction
20
18
21                                                          Momcozy’s              Elvie’s
19     Claim Term               Patent(s), claim(s)         Proposed               Proposed
22                                                          Construction           Construction
20
23     “in-bra wearable         ʼ893 Patent, claim 1        “device that is        Plain and ordinary
21     device”                  ʼ380 Patent, claims 1,      entirely contained     meaning
24
                                26, 29, 44                  within bra when
22
25                              ʼ381 Patent, claim 1        worn”

23
26

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24

25
      JOINT CLAIM CONSTRUCTION AND PREHEARING
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 1                                                        Momcozy’s                Elvie’s
 1     Claim Term               Patent(s), claim(s)       Proposed                 Proposed
 22                                                       Construction             Construction
 3     “a pump / the pump /     ʼ893 Patent, claims 1- “Piezo air pump”            Plain and ordinary
       an air pump / the air    3                                                  meaning
 44    pump”                    ʼ380 Patent, claims 1,
 5                              5, 6, 9-11, 26, 29, 44
 5
                                ʼ381 Patent, claims 1,
 6
 6                              11, 26, 29
 7
 7     “external surface of     ʼ893 Patent, claim 1      “surface of the pump     Plain and ordinary
 8     the housing”             ʼ380 Patent, claim 29     housing that is          meaning
 8                                                        exposed to its outside
 9                                                        environment”
 9
10     “attached / attach /     ʼ893 Patent, claims 1,    “directly connected to Plain and ordinary
11     attachable / attaches”   17, 20                    / directly connect to” meaning
10
                                ʼ380 Patent, claims 1,
12                              9, 11, 15, 21, 29, 37
11
                                ʼ381 Patent, claims 1,
13                              14, 17
12
14     “milk container”         ʼ893 Patent, claims 1,    “container collecting    Plain and ordinary
13
                                13, 16-21, 23, 26         milk that is separate    meaning
15
                                ʼ380 Patent, claims 1,    from the breast
14
16                              6, 8-12, 26-29, 33,       shield”
                                35-38, 43-46
15
17                              ʼ381 Patent, claims 1,
                                9, 13-18, 20, 21, 24
16
18
       “close to a base of the ʼ893 Patent, claim 3       Indefinite               Plain and ordinary
19
17     housing”                                                                    meaning
20
18     “substantially rigid”    ʼ893 Patent, claims 6,    Indefinite               Plain and ordinary
21                              16                                                 meaning
19                              ʼ380 Patent, claims 8,
22                              35
20                              ʼ381 Patent, claim 13
23
21
24     “configured to rotate    ʼ893 Patent, claim 7      Indefinite               Plain and ordinary
       smoothly around a        ʼ380 Patent, claims 2,                             meaning
22
25     nipple inserted into     30
       the nipple tunnel to     ʼ381 Patent, claim 2
23
26     provide a correct
       positioning of the
27
24

25
      JOINT CLAIM CONSTRUCTION AND PREHEARING
      STATEMENT
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 1                                                         Momcozy’s                Elvie’s
 1     Claim Term               Patent(s), claim(s)        Proposed                 Proposed
 22                                                        Construction             Construction
 3     breast shield onto a
       breast”
 44
       “the housing is         ʼ893 Patent, claim 12       “when the breast         Plain and ordinary
 5     configured to slide     ʼ381 Patent, claim 8        shield has been          meaning
 5
       onto the breast shield,                             placed onto a breast,
 6
 6     when the breast                                     the housing is able to
 7     shield has been                                     slide onto the breast
 7     placed onto a breast,                               shield using guide
 8     using guide                                         members”
 8     members”
 9
 9     “fixed to”               ʼ380 Patent, claim 1       “unremovably             Plain and ordinary
10
                                                           connected to during      meaning
11
10                                                         normal operation,
                                                           use, and
12
11                                                         maintenance”
13
12
14                   b.       Other Disputed Claim Terms
13
15           The parties have not identified additional terms for construction.
14
16           3.      Proposed Order of Presentation at Hearing
15
17           The parties believe that it will be most effective to start the Markman hearing with the

16
18    oral arguments for the disputed claim terms on a term-by-term basis based on the order of the

19
17    terms listed in Section 2 above, with Momcozy presenting first for each disputed term. Each side

20    should be allotted the same amount of total time, including live testimony (if any) and oral
18
21    argument.
19
22           4.      Live Testimony
20
23           The parties believe that the most efficient way to present expert testimony in support of
21
24    the parties’ claim construction positions is through expert declarations and citations to the
22
25    experts’ deposition testimony. Thus, the parties consider it unnecessary and inefficient to call the

23
26    parties’ experts live at the Markman hearing.

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24

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      JOINT CLAIM CONSTRUCTION AND PREHEARING
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 1
 1              5.     Tutorial
 22             Momcozy believes that a tutorial on the subject matter is not necessary given the

 3    straightforwardness of the challenged technology. Should the Court request a technology

 44   tutorial, Momcozy will be happy to provide one of similar length as Elvie’s proposed tutorial.

 5              Elvie believes that a tutorial on the subject matter of the technology would be informative
 5
 6    and requests twenty (20) minutes to present the technology tutorial to the Court.
 6
 7              6.     Independent Expert
 7
 8              The parties do not believe it is necessary for the Court to appoint its own independent
 8
 9    expert.
 9
10              7.     Prehearing Conference

11
10              The parties do not believe it is necessary to have a prehearing conference, pursuant to

12
11    Patent L.R. 132(g), prior to the Markman hearing.

13              8.     Copies of Patents and Prosecution Histories
12
14              Copies of the patents-in-suit and their prosecution histories are attached to this Joint
13
15    Claim Construction and Prehearing Statement as Exhibits B-G:
14
16
       Patents-in-Suit                     Copy of the Patent                 Prosecution History
15
17
       11,357,893                          Ex. B                              Ex. E
16
18
       11,413,380                          Ex. C                              Ex. F
19
17
       11,813,381                          Ex. D                              Ex. G
20
18
21              To the extent that the file histories for any parents and related patents and patent
19
22    applications have been included in the disclosure of intrinsic evidence, those file histories are
20
23    attached to this Joint Claim Construction and Prehearing Statement as Exhibits E-G:
21
24
       Related Patent/Application                                 Prosecution History
22
25
       11,357,893                                                 Ex. E
23
26
       11,413,380                                                 Ex. F
27
24

25
      JOINT CLAIM CONSTRUCTION AND PREHEARING
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 1     Related Patent/Application                              Prosecution History
 1
 22    11,813,381                                              Ex. G
 3     Appl. No. 17/181,057 (parent to ’380 Patent)            Ex. H
 44    Appl. No. 16/009,547 (grandparent to ’380 Patent)       Ex. I
 5
 5
 6    Dated: December 11, 2024                      ARÊTE LAW GROUP PLLC
 6
 7
 7                                                  By: /s/ Matthew A. Colvin
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 8                                                      jroller@aretelaw.com
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19
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22                                                        TECHNOLOGY CO., LTD., HONG KONG
20
23                                                        LUTE TECHNOLOGY CO., LIMITED,
                                                          SHENZHEN CONGLIN E-COMMERCE CO.,
21
24                                                        LTD., SHENZHEN ROOT E-COMMERCE
                                                          CO., LTD., SHENZHEN LUTEJIACHENG
22
25                                                        NETWORK TECHNOLOGY CO., LTD, AND
                                                          SHENZHEN JINRUIHANG TECHNOLOGY
23
26
                                                          CO., LTD.
27
24

25
      JOINT CLAIM CONSTRUCTION AND PREHEARING
      STATEMENT
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 1
 1    Dated: December 11, 2024                       LOWE GRAHAM JONES PLLC
 22
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 7                                                        Josephine Kim (pro hac vice)
 8
                                                          Alexander Covington (pro hac vice)
 8                                                        Alex Alfano (pro hac vice)
 9
                                                          Joseph Kim (pro hac vice)
 9
10                                                        Paige Cloud (pro hac vice)
                                                          Michael Webb (pro hac vice)
11
10                                                        Zachary L. Jacobs (pro hac vice)
                                                          Christopher Coleman (pro hac vice)
12
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15
14                                                        Attorney for Defendant and Counterclaim-
16                                                        Plaintiff, CHIARO TECHNOLOGY LTD.
15
17
16
18
                           CERTIFICATION OF ELECTRONIC SIGNATURE
19
17
              Pursuant to L.R. 11(a)(6)(B), I, Matthew A. Colvin, attest that all other signatories listed,
20
18
      and on whose behalf the filing is submitted, concur in the filing’s content and have authorized
21
19
      the filing.
22
20                                                          /s/ Matthew A. Colvin
23                                                          Matthew A. Colvin
21
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      JOINT CLAIM CONSTRUCTION AND PREHEARING
      STATEMENT
      Case No. 2:23-cv-00631-KKE                      6
